Case 1:22-cv-20955-DPG Document 44 Entered on FLSD Docket 07/21/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 JENNIFER MORRILL, individually and
 on behalf of all others similarly situated,
                                                          Case No. 1:22-cv-20955-DPG
                Plaintiff,
                                                          CLASS ACTION COMPLAINT
        v.
                                                          JURY DEMAND
 LAKEVIEW LOAN SERVICING, LLC,
                                                          COMPLEX
                Defendant.




                                 NOTICE OF UNAVAILABILITY

         PLEASE TAKE NOTICE that the undersigned attorney, DANIEL B. ROSENTHAL,

  ESQ., will be absent from the jurisdiction of this Court and/or unavailable on September 26-27,

  2022, and on October 5, 10-11, and 17-18, 2022, and respectfully requests that no hearings,

  depositions, discovery or any other proceedings be set during said time frame.
Case 1:22-cv-20955-DPG Document 44 Entered on FLSD Docket 07/21/2022 Page 2 of 2




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished this

  July 20, 2022, via the Florida Court's E-filing portal and served via electronic mail to all counsel

  of record.

                                                DBR LAW, P.A.
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                                                By:    /s/ Daniel B. Rosenthal ___________
                                                       DANIEL B. ROSENTHAL
                                                       Florida Bar Number: 711934
                                                       Counsel for Defendant
